Case 0:02-cv-61456-WPD Document1 Entered on FLSD Docket 10/16/2002 Page 1 of 10

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
DIVISION

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IN THE CIRCUIT COURT OF THE
17TH JUDICIAL CIRCUIT IN AND
FOR BROWARD COUNTY, FLORIDA

STATE OF FLORIDA, CASE NO: CL. 7LOEGM AL IEA

vs. bys AW LERLY
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Coaple p meee

ZAK /

Defendant

MOTION FOR HEARING .

COMES NOW THE DEFENDANT, Cid ZA » pro se,

pursuant to rule 3.190(a) of the Florida Rules of Criminal Procedure

and moves this Court for a hearing on the Following issue(s) of law.

In support. thereof the Defendant would aver as Foitows: Pip mote. the PAN A Ce-®
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STATEMENT OF FACTS

That the Defendant believes he has meaningful Litigation thar
needs to be brought before the Court for resolution in order to serve
the ends of justice.

That the Defendant has a legal right to a hearing before the Court

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be granted and that the Defendant be present before the Court at said

hearing so that he may argue the issue(s) of law related to the afore-—
mentioned cause.

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Case 0:02-cv-61456-WPD Document1 Entered on FLSD Docket 10/16/2002 Page 7 of 10

That rule 3.180 Florida Rules of Criminal Procedure affords the

Defendant the right to be present at all pre-trial procedings.

WHEREFORE THE DEFENDANT prays this Honorable and able Court grant
the requested hearing so that the issues at bar might be resolved upon

the merits and in the Defendants presence.

Respectfully Submitted

Cuprs ZN

Defendant:
Broward Jail
Housing Unit ;7~- ZG a

CERTIFICATE OF SERVICE

I certify that a true and correct copy of the aforegoing

“"MOTION FOR HEARING" has been served on the Office of the State Attorney,

The Honorable Judge: “egbxeipeie SUSAN LEBing Robert E. Lockwood, the

Clark of the Court for Broward County, and the Attoruey of record for the

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Defendant, 20 i 4.5 LAC - Service has been made by
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JUDICIAL CIRCUIT, IN AND FOR BROWARD COUNTY

STATE OF FLORIDA, CASE NO. OY. 72b4 fits PA

PLAINTIFF, sushi LEBS/./
UDGE saa.
VS.

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Cees ZAK
DEFENDANT.

MOTION FOR APPOINTMENT OF CO-COUNSEL STATUS

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Fonoradle Coun to Grant the Osfendant Co-Ccuns-l Status.

thereof, the Defendant would aver as follows:

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CIVIL COVER SHEEY- DIMITR

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Rev. 12/96)

TROULEAS

me JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required
vy law, except as provided by local rules of court. This form, approved by the Judicial Conterence of the United States in September 1974. is required fcr the use
af the Clerk of Court for the purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.

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(EXCEPT, IN U.S. PLAINTIFF CASES)

DEFENDANTS

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VI. CAUSE OF ACTION

DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY }

LENGTH OF TRIAL

(CITE THE US CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE BRIEF STATEMENT OF CAUSE

via____days estimated (for both sides to try entire case)
Vil. REQUESTED IN CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:

COMPLAINT: © UNDER ERCP 23 sy JURY DEMAND: = ss" NO
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